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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                  1/19/2023
 Lamar Brown,

                                Plaintiff,
                                                              1:22-cv-08992 (PGG) (SDA)
                    -against-
                                                              ORDER
 Sandy Spin Slade, Inc.,

                                Defendant.


STEWART D. AARON, United States Magistrate Judge:

        Following a telephone conference with the parties today, it is hereby ORDERED that

Plaintiff shall file a letter regarding the status of service and settlement on Tuesday, February 21,

2023.

SO ORDERED.

DATED:         New York, New York
               January 19, 2023

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                                                  STEWART D. AARON
                                                  United States Magistrate Judge
